           Case 22-33553 Document            Filed in TXSB on 02/09/24 Page 1 of 2
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                         UNITED STATES BANKRUPTCY COURT                                February 09, 2024
                           SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

In re:                                           §
                                                 §
FREE SPEECH SYSTEMS, LLC,                        §           Case No. 22--60043
                                                 §
                               DEBTOR.           §           (Subchapter V Debtor)
                                                 §               Chapter 11


ORDER GRANTING FIRST INTERIM APPLICATION OF THE REYNAL LAW FIRM,
 P.C., SPECIAL COUNSEL TO FREE SPEECH SYSTEMS, LLC FOR ALLOWANCE
  AND PAYMENT OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
                   INCURRED FOR THE PERIOD FROM
             FROM JULY 29, 2022 THROUGH DECEMBER 31, 2023.

         On this day came on for consideration the First Interim Application of the THE

REYNAL LAW FIRM, P.C., Special Litigation Counsel to Free Speech Systems, LLC,

(“Debtor”) for legal services rendered from July 29, 2022, through December 31, 2023. (the

“Application”) seeking allowance of compensation incurred during such period of time, and it

appearing that notice, and service of such Application have been made in accordance with the

Federal Rules of Bankruptcy Procedure and the Local Rules promulgated thereunder, and after

considering the pleadings of record and the arguments of counsel;

         THE COURT FINDS that the legal services provided by Applicant were necessary and

beneficial to the estate and that the fees and expenses sought are reasonable after considering the

following factors: (1) the time and labor required; (2) the novelty and difficulty of the questions

presented; (3) the customary fee; (4) whether the fee is fixed or contingent; (5) the amount

involved and the results obtained; (6) the experience, reputation and ability of the professionals;

(7) the “undesirability” of the case; and (8) awards in similar cases.
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       IT APPEARING that to the extent herein provided, that interim compensation and

reimbursement of out-of-pocket expenses should be authorized; it is, therefore,

       ORDERED that the THE REYNAL LAW FIRM, P.C., shall be, and hereby is awarded

INTERIM compensation in the amount of TWO HUNDRED FOUR THOUSAND SEVEN

HUNDRED SIXTY AND 76/100 DOLLARS ($204,760.76) for services rendered and

expenses incurred as legal counsel to the Debtor for the period from July 29, 2022, through

December 31, 2023, it is further,

       ORDERED that the Debtor is authorized to pay THE REYNAL LAW FIRM, P.C., the

balance of the allowed fees and expenses owed after crediting all payments pursuant to the

Interim Compensation Order.


Houston, Texas
           August 02,
          February     2019
                   09,2024
Dated: ____________,   2024

                                               UNITED STATES BANKRUPTCY JUDGE




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